       CASE 0:11-cv-03659-DWF-TNL Doc. 1171 Filed 07/30/21 Page 1 of 1

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                     July 26, 2021


Clerk
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
111 S. 10th Street, Room 24.329
St. Louis, MO 63102-1125


      Re: Kevin Scott Karsjens, et al., Individually and on Behalf of All
          Others Similarly Situated
          v. Tony Lourey, et al.
          No. 21-101
          (Your No. 18-3343)


Dear Clerk:

      The petition for a writ of certiorari in the above entitled case was filed on July
22, 2021 and placed on the docket July 26, 2021 as No. 21-101.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Jeffrey Atkins
                                        Deputy Clerk
